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                                   July 22, 2024
VIA EMAI L: (Mansfield_Orders @hid. u s courts. gov)

 Magistrate Judge Kenneth J. Mansfield
 U.S. District Court, District of Hawaii
 30O Ala Moana Blvd., C-338
 Honolulu, HI 96850

         Re: Countg of Maui., Department of Enuironmental Management u. Kontar
              Maui Properties I Ll{: CV 24-OO2O3 KJM

 Dear Magistrate Judge Kenneth J. Mansfield:

       Thank you for setting the July 25, 2024 status conference (Dkt. 32).
 Briefly, the County wishes to update the Court on the status of
 settlement/mediation efforts. The County has been advised that Defendant is
 no longer interested in mediating an agreement on the sale of the property to the
 County. While the Court has set an early settlement conference for September
 24, 2024, the County would like to proceed as quickly as the Court can
 accommodate for a determination of the validity of the taking.

         Defendant has sent discovery requests to the County and has indicated
 that it would like to do additional discovery. At the status conference, the County
 would like to discuss:

         1.   Potential hearing dates for a "stage l" determination by the Court
 (see EOT Gathering, LLC v. A Tract of Prop. Situated in Knott Cnty., Ky., No.
 CIV.A. 12-58-ART,2OL2 WL 6049691, at *1 (E.D. Ky. Dec. 5,2012) "Rule 71.1
 sets out a two-stage process for eminent domain proceedings. The first stage is
 an expedited determination of the validity of the taking.");
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      2.      Expedited discovery deadlirees as they relate to the validity of the
taking; and

      3.      Further Setflement options.


                                       Best regards,



                                       THOIVIAS KOLBE
                                       Deputy Corporation Counsel

      cc:     Sharon V. lovejoy, Esq. (slovejoy@starnlaw.com)
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